          Case 1:18-cv-12125-ADB Document 46 Filed 04/27/22 Page 1 of 3




                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
UNITED STATES OF AMERICA and               )
THE COMMONWEALTH OF                        )
MASSACHUSETTS ex rel.                      )
STEPHEN M. ZAPPALA, M.D.,                 )
OLIVIA LANNA, M.D., and ERIC WOJCIK,      )
                                          )   FILED UNDER SEAL
            Plaintiffs,                   )
        v.                                )   No. 18-cv-12125-ADB
                                          )
STEWARD HEALTH CARE SYSTEMS, LLC,         )
et al.,                                   )
                                          )
            Defendants.                   )
                                          )

                      NOTICE OF INTERVENTION IN PART
             FOR SETTLEMENT PURPOSES AND DECLINATION IN PART

       Pursuant to 31 U.S.C. § 3730(b)(2) and (4), and Mass. Gen. Laws ch. 12, § 5C(4), the

United States and Commonwealth of Massachusetts (“Commonwealth”) notify the Court of their

respective decisions to intervene in part of this action solely for the purposes of settlement with

Steward Health Care System LLC, Steward Medical Group, Inc., Steward Health Care Network,

Inc., Steward Good Samaritan Medical Center, Inc., Steward St. Elizabeth’s Medical Center of

Boston, Inc., Steward St. Anne’s Hospital Corporation, Steward Norwood Hospital, Inc.,

Steward Holy Family Hospital, Inc., Steward Carney Hospital, Inc., Nashoba Valley Medical

Center, A Steward Family Hospital, Inc., and Morton Hospital, A Steward Family Hospital, Inc.

(collectively, “Steward”). The United States and the Commonwealth have reached a settlement

with Steward and intervene with respect to claims the relators asserted against Steward on behalf

of the United States and the Commonwealth for the Covered Conduct, as defined in Paragraphs

G(a) and (b) of the April 25, 2022 settlement agreement among the United States; the
         Case 1:18-cv-12125-ADB Document 46 Filed 04/27/22 Page 2 of 3




Commonwealth of Massachusetts; Steward; Stephen M. Zappala, M.D., Olivia Lanna, M.D., and

Eric Wojcik (“Relators”); and Quincy Medical Center, A Steward Family Hospital, Inc., New

England Sinai Hospital, A Steward Family Hospital, Inc., Steward Good Samaritan Radiation

Oncology Center, Inc., Steward Sebastian River Medical Center, Inc., Steward Rockledge

Hospital, Inc., Steward Melbourne Hospital, Inc., Steward Trumbull Memorial Hospital, Inc.,

Steward Sharon Regional Health System, Inc., Steward Easton Hospital, Inc., Steward Integrated

Care Network, Inc., Steward National Care Network, Inc., and Steward Medicaid Care Network,

Inc. (collectively, “Additional Steward Entities”) (“Settlement Agreement”).

       After Steward satisfies its payment obligation under the Settlement Agreement, the

United States, the Commonwealth, and the relators will file a joint stipulation of dismissal

pursuant to the Settlement Agreement’s terms.

       The United States and the Commonwealth decline to intervene with respect to the

relators’ allegations concerning all other claims in the relators’ Complaint.


Dated: April 27, 2022                                 Respectfully submitted,


 MAURA HEALEY                                         RACHAEL S. ROLLINS
 Attorney General                                     United States Attorney


 By: /s/ Ian R. Marinoff                      By:     /s/ Jessica J. Weber
 IAN R. MARINOFF (BBO #654794)                        JESSICA J. WEBER
 JENNIFER R. GOLDSTEIN (BBO                           CHARLES B. WEINOGRAD
 #676096)                                             Assistant United States Attorneys
 Assistant Attorneys General                          United States Attorney’s Office
 Office of the Attorney General                       1 Courthouse Way, Suite 9200
 One Ashburton Place                                  Boston, MA 02210
 Boston, Massachusetts 02108                          (617) 748-3303
 (617) 727-2200                                       jessica.j.weber@usdoj.gov
 ian.marinoff@mass.gov                                charles.weinograd@usdoj.gov
 jennifer.goldstein@mass.gov



                                                 2
         Case 1:18-cv-12125-ADB Document 46 Filed 04/27/22 Page 3 of 3




                                CERTIFICATE OF SERVICE

        I certify that the foregoing notice was served on the following counsel by e-mail on the
date below.

                                     Counsel for the Relators

                                      Lisa G. Arrowood
                                 LArrowood@arrowoodllp.com

                                        Jeanne A. Markey
                                         Gary L. Azorsky
                                        Casey M. Preston
                                  jmarkey@cohenmilstein.com
                                  gazorsky@cohenmilstein.com
                                  cpreston@cohenmilstein.com


                                       Counsel for Steward

                                       Mark W. Pearlstein
                                         Sarah Walters
                                     mpearlstein@mwe.com
                                      sewalters@mwe.com


Dated: April 27, 2022                        Jessica J. Weber
                                             JESSICA J. WEBER
                                             Assistant United States Attorney




                                                2
